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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF VERMONT


 AMERICAN CABLE ASSOCIATION,
 CTIA – THE WIRELESS ASSOCIATION,
 NCTA – THE INTERNET & TELEVISION
 ASSOCIATION, NEW ENGLAND CABLE
 & TELECOMMUNICATIONS
 ASSOCIATION, and USTELECOM – THE
 BROADBAND ASSOCIATION, on behalf of                      Case No. 2:18-cv-00167-CR
 their members,

                             Plaintiffs,

               v.

 PHILIP B. SCOTT, in his official capacity as
 the Governor of Vermont; SUSANNE R.
 YOUNG, in her official capacity as the
 Secretary of Administration; JOHN J. QUINN
 III, in his official capacity as the Secretary and
 Chief Information Officer of the Vermont
 Agency of Digital Services; and JUNE E.
 TIERNEY, in her official capacity as the
 Commissioner of the Vermont Department of
 Public Service,

                             Defendants.


    [PROPOSED] ORDER REGARDING TEMPORARY STAY OF LITIGATION
            AND INJUNCTION BARRING ENFORCEMENT OF
                EXECUTIVE ORDER NO. 2-18 AND ACT 169

       Plaintiffs the American Cable Association, CTIA – The Wireless Association, NCTA –

The Internet & Television Association, New England Cable & Telecommunications Association,

and USTelecom – The Broadband Association (collectively, “Plaintiffs”), and Defendants Philip

B. Scott, Susanne R. Young, John J. Quinn III, and June E. Tierney in their official capacities

(“Defendants,” and collectively with Plaintiffs, the “Parties”) have submitted a Stipulation

Regarding Temporary Stay of Litigation and Injunction Barring Enforcement of Executive Order
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No. 2-18 and Act 169 (referred to in Plaintiffs’ Complaint as Senate Bill 289). Having

considered the Stipulation, and good cause appearing, the Court orders as follows:

         1.       Further proceedings in American Cable Ass’n v. Scott, No. 2:18-cv-00167-CR,

shall be stayed until the later of the following: (a) the D.C. Circuit issues its opinion in the

petitions for review of the FCC Order currently pending in Mozilla Corp. v. FCC, Nos. 18-1051

et al. (D.C. Cir.), and the period for seeking further review from the D.C. Circuit and the U.S.

Supreme Court has expired; or (b) a final decision has been issued by the D.C. Circuit or the U.S.

Supreme Court in response to any petition for rehearing or certiorari, either denying such petition

or issuing a final decision.

         2.       Defendants shall be enjoined from taking any action to enforce, or direct the

enforcement of, Executive Order No. 2-18 and Act 169 in any respect until 30 days after the

expiration of the stay and shall not take any future actions to enforce Executive Order No. 2 18 or

Act 169 based upon conduct occurring during the period of the stay.

         3.       Plaintiffs shall not seek attorneys’ fees based on time spent litigating this action

prior to the dissolution of the stay.

         4.       The Parties’ stipulation shall neither be construed as bearing on the merits of the

action, nor be considered precedent in this or any other matter. Nor shall this order be

considered in the adjudication of any dispositive motions.


IT IS SO ORDERED:


         Dated: ____________________
                                                            Hon. Christina Reiss
                                                            U.S. District Court Judge
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